                                 THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                         ASHEVILLE DIVISION
                                CRIMINAL CASE NO. 2:06-cr-00012-MR-DLH


              UNITED STATES OF AMERICA         )
                                               )
                   vs.                         )                     ORDER
                                               )
              ANTHONY KEITH GREEN              )
              ________________________________ )

                       THIS MATTER is before the Court pursuant to 18 United States Code

              § 3582(c)(2) and U.S.S.G. § 1B1.10(c), Amendment 782 (Nov. 1, 2014).

                       The Defendant has filed a motion for reduction of his sentence. [Doc.

              169]. The Probation Office has submitted a supplement to the Defendant’s

              Presentence Report (“PSR”) in this matter. [Doc. 170]. Based thereon, the

              Court determines that the United States Attorney should provide the Court

              with its respective position regarding the PSR supplement.

                       IT IS, THEREFORE, ORDERED that no later than thirty (30) days

              from the entry of this Order, the United States Attorney shall file pleadings

              responsive to the Probation Officer’s PSR supplement filed in this matter.

                       IT IS SO ORDERED.

Signed: February 23, 2015




                   Case 2:06-cr-00012-MR-WCM     Document 171   Filed 02/23/15   Page 1 of 1
